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Sheriff’s Ent              of Service




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Civil Action No. CE21-00736                                           Court: Sugerior Court           1&3
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 Name and Address of Party to Serve:                                    Style of the case:
 HARVEY, CORNELL                                                        PAUL D LUCAS
 City Mayor of Brunswick                                                vs.
 Brunswick GA 31520                                                     CITY OF BRUNSWICK, PAUL
                                                                        GEORGE, ANGELA ELLIOTT,
                                                                        KEVIN JONES, AND CORNELL
                                                                        HARVEY (IN THEIR INDIVIDUAL
                                                                        CAPACITIES)

                                               Entry of Service
    Personal
    I have this day served the defendant                                                 personally with a copy of the within
    action and summons:




V
    Notorious
    l have this day served the defendant
    summons at his most notorious pla
                                            (I     /MI,
                                           of a ode in this Codnty.
                                                                                 by leaving a copy   of the action and

    Delivered same into hands of                           .f            described as follows age, about                                    years; weight,
    about      pounds; height, about         feet and       inches, domiciled at the residence of defendant.


    Corporation
    Served the defendant                                                                                                                a corporation
    by leaving a copy of the within action and summons with
    in charge of the ofce and place of doing business of said Corporation in this County.


    Tack & Mail
    l have this day served the above styled afdavit and summons on the dcfendant(s) by posting a copy of the same to the
    door of the premises designated in said affidavit, and on the same day of such posting by depositing a true copy of same
    in the United States Mail, First Class in an envelope properly addressed to the defendant(s) at the address shown in said
    summons, with adequate postage affixed thereon containing notice to the defendant(s) to answer said summons at the
    place stated in the summons.

    Non   EST
    Diligent search made and defendant                                            not found in the jurisdiction                             of this Court.



This        day of                         ,202L_ mam                                .

                                                                                    4’ Z/A‘x
                                                                                          Deputy Sheriff
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Sworn to and subscribed before me this                                day of                         :9                                         z .n
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Notary Public, Glynn County, Georgia                                                                                                                 EU
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My Commission Expires:                                                                                                                               as
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Sheriff’s Entry of Service                                                                                        g
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Civil Action No. CE21-00736                                         Court: Superior Court            l aQ
 Name and Address of Party to Serve:                                     Style of the ease:

 HARVEY, CORNELL                                                        PAUL D LUCAS
 City Mayor of Brunswick                                                vs.
 Brunswick GA 31520                                                     CITY OF BRUNSWICK, PAUL
                                                                        GEORGE, ANGELA ELLIOTT,
                                                                        KEVIN JONES, AND CORNELL
                                                                        HARVEY (IN THEIR INDIVIDUAL
                                                                        CAPACITIES)

                                               Entry of Service
    Personal
    I have this day served the defendant                                               personally with a copy ofthe within
    action and summons:


    Notorious
   I l have this day served the defendant ”(/4
                                             d                                    by leaving a copy of the action and

                                    w?'ofgjde ”it”
    summons at his most notorious                   m this
    Delivered same into hands of                                         described as follows age, about                years; weight,
    about      pounds; height, about         feet and        inches domiciled at the residence of defendant.

    Corporation
    Served the defendant                                                                                               a corporation
    by leaving a copy of the within action and summons with
    in charge of the ofce and place of doing business of said Corporation in this County.


    Tack & Mail
    l have this day served the above styled affidavit and summons on the defendant(s) by posting a copy of the same to the
    door of the premises designated in said affidavit, and on the same day of such posting by depositing a true copy of same
    in the United States Mail, First Class in an envelope properly addressed to the defendant(s) at the address shown in said
    summons, with adequate postage aixed thereon containing notice to the defendant(s) to answer said summons at the
    place stated in the summons.

    Non    EST
    Diligent search made and defendant                                            not found in the jurisdiction        of this Court.



Thai day                                    ,20 4/          aw?” amt”.
                  “We”                                                               ////-r:>s                              i=3
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                                                                                         Deputy
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                                                                                                    Sheriff
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Sworn to and subscribed before me this                              day of                                              ZR
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Notary Public, Glynn County, Georgia
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My Commission Expires:                                                                               7g    aL               ‘3’   g
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